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    EXHIBIT C
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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
 ____________________________________
                                                    )
In re:                                              )    Chapter 11
                                                    )
         Lomax Hacking Corp. et al.,                )    Case No. 1-15-41787-nhl
                                                    )
                Debtor.                             )    Jointly Administered
____________________________________                )


           SO ORDERED STIPULATION WITH RESPECT TO DEBTORS’ MOTION FOR
             ENFORCEMENT OF BANKRUPTCY CODE SECTIONS 542(a) AND 543(b)



                   WHEREAS, Lomax Hacking Corp., Loup Hacking Corp., Phanero Hacking Corp., Sice

Mois Hacking Corp., and Topush Hacking Corp. (collectively, the “Debtors”) commenced these chapter

11 cases (the “Bankruptcy Cases”) before the United States Bankruptcy Court for the Eastern District of

New York (the “Bankruptcy Court”) on April 21, 2015 (the “Petition Date”);

                   WHEREAS, prior to the Petition Date, on March 21, 2014, each individual Debtor

borrowed the amount of $1,980,000.00 from Doral Bank (the “Loans”) to refinance ten New York City

taxi mini-fleet medallions (## 4K65, 4K66, 6H73, 6H74, 6K23, 6K24, 4V20, 4V21, 7V56 and 7V57, the

“Medallions”) issued by the New York City Taxi and Limousine Commission (the “TLC”);

                   WHEREAS, in connection with the Loans, each Debtor granted Doral Bank a security

interest in, among other things, the Medallions, certain taxicabs and the taxicab equipment associated

with the Medallions (collectively, the “Collateral”);

                   WHEREAS, as of the Petition Date, Banco Popular North America (“Banco Popular”),

the successor-in-interest to Doral Bank, was in possession, custody, or control of eight Medallions,

related taxicab equipment (including meters and rate cards, the “Equipment), and two taxicab vehicles

(the “Vehicles”);

                   WHEREAS, on May 2, 2015, the Debtors filed the Debtors’ Motion for Enforcement of

Bankruptcy Code Sections 542(a) and 543(b) (docket no. 11, the “Turnover Motion”), seeking, among
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other things, turnover of the Collateral;

                 WHEREAS, on May 6, 2015, Banco Popular North America (“Banco Popular”) filed the

Objection of Banco Popular North America to Motion for Turnover (docket no. 16, the “Objection”);

                 WHEREAS, on May 11, 2015, Banco Popular delivered eight of the Medallions to the

TLC;

                 WHEREAS, on May 12, 2015, the Debtors filed the Debtors’ Response to Objection of

Banco Popular North America to Motion for Turnover (docket no. 26, the “Response”);

                 WHEREAS, on June 12, 2015, the Debtors and Banco Popular each filed a supplemental

memorandum of law with respect to the issues raised in the Turnover Motion, the Objection and the Rely

(docket nos. 35 and 36, the “Memoranda of Law”);



                 NOW THEREFORE, in consideration of the mutual promises contained herein, the

Debtors and Banco Popular hereby agree as follows:

                  1.     Banco Popular consents to the TLC turning over and releasing the Medallions to

the Debtors and/or a licensed taxicab management company designated by the Debtors (a “Management

Company”); provided that, before the TLC turns over and releases any Medallion to the Debtors, the

Debtors shall provide Banco Popular with evidence, for each medallion released, of (i) the vehicle

intended to be used has been TLC approved to be “hacked up”; (ii) insurance having been paid for each

such vehicle; (iii) workers compensation insurance; (iv) a copy of each management contract agreement,

and (v) all other applicable TLC regulations have been met. The Debtors shall also provide proof of

insurance to the Office of the United States Trustee.

                 2.      Within three (3) days after date the Bankruptcy Court enters this So Ordered

Stipulation, Banco Popular shall turn over the Taxicab Equipment and the Vehicles to the Debtors, at a

location reasonably designated by the Debtors.

                 3.      Within sixty (60) days after date the Bankruptcy Court enters this So Ordered

Stipulation, each Debtor shall commence making post-petition payments to Banco Popular in the amount
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of $2,200.00 per month per Medallion ($22,000.00 in the aggregate), in good funds, as adequate

protection for Banco Popular’s interests in the Medallions (the “Adequate Protection Payments”);

provided that, in the event the Debtors enter into a management agreement with respect to one or more of

the Medallions, and the Management Company makes the first payment under such agreement prior to

sixty days after date the Bankruptcy Court enters this So Ordered Stipulation, then the Adequate

Protection Payments on account of such managed Medallions shall commence on the day following the

date of such first payment by the Management Company. Adequate Protection Payments shall be received

by Banco Popular every thirty (30) days thereafter on the same date each month after the first payment is

made.

                4.       An event of default shall occur if an Adequate Protection Payment in good funds

is not received by Banco Popular on the date the same is due. Banco Popular shall provide written notice

of such default to the Debtors and the Office of the United States Trustee. If an event of default occurs

and is not cured within two (2) business days, the Debtors shall, within forty-eight (48) hours thereafter,

place the Medallions in storage with the TLC, and remove the taxicabs from further street use.

                5.       The Debtors shall provide the Bankruptcy Court, the United States Trustee, and

Banco Popular with monthly disclosure of all revenues, disbursements and expenditures with respect to

the Medallions, in connection with the Debtors’ monthly operating reports, or upon demand by Banco

Popular. Further the Debtors will provide any other such information reasonably requested by the Banco

Popular and/or its regulators.


                6.       The Parties hereby reserve all of their rights with respect to the issues raised in

the Turnover Motion, the Objection, the Response, and the Memoranda of Law; nothing herein shall be

deemed a waiver of such rights.

                7.       Banco Popular hereby reserves all rights to seek additional Adequate Protection

Payments, and the Debtors reserve all rights to oppose such relief; nothing herein shall be deemed a

waiver of such rights.
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AGREED, this 3rd day of July, 2015.


LOMAX HACKING CORP.,                  BANCO POPULAR NORTH AMERICA
LOUP HACKING CORP.,
PHANERO HACKING CORP.,
SICE MOIS HACKING CORP.,
TOPUSH HACKING CORP.

/s/ Widmarck Paul                       /s/ Kenneth DiGregorio
By: Widmarck Paul, President            By: Kenneth R. DiGregorio, Vice-President


SO ORDERED




                                                     ____________________________
 Dated: July 7, 2015                                      Nancy Hershey Lord
        Brooklyn, New York                           United States Bankruptcy Judge
